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  8    NESTLÉ WATERS NORTH AMERICA INC.
  9
                                 UNITED STATES DISTRICT COURT
 10
                                CENTRAL DISTRICT OF CALIFORNIA
 11
                                          WESTERN DIVISION
 12
 13
       CINDY BAKER, on behalf of herself              Case No. 2:18-cv-03097-VAP-PJW
 14    and all other similarly situated,
                           Plaintiff,                 DEFENDANT NESTLÉ WATERS
 15
                                                      NORTH AMERICA INC.’S:
 16              v.
                                                      (1) NOTICE OF MOTION AND
 17    NESTLÉ WATERS NORTH                                MOTION TO DISMISS
 18    AMERICA, a Delaware corporation, and               PLAINTIFF’S FIRST AMENDED
       DOES 1 through 100, inclusive,                     COMPLAINT; AND
 19
                           Defendants.                (2) MEMORANDUM OF POINTS
 20                                                      AND AUTHORITIES
 21                                                   [Request for Judicial Notice and
                                                      Declaration of Helene Lee Filed
 22                                                   Herewith]
 23                                                   Date: December 17, 2018
                                                      Time: 2:00 P.M.
 24                                                   Courtroom: 8A
                                                      Judge: Hon. Virginia A. Phillips
 25
 26
 27
 28


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  1              TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
  2              PLEASE TAKE NOTICE that on December 17, 2018, at 2:00 p.m., or as
  3    soon thereafter as counsel may be heard, before the Honorable Virginia A. Phillips,
  4    in the United States District Court for the Central District of California, located at
  5    350 W. First Street, Los Angeles, California, Courtroom 8A, defendant Nestlé
  6    Waters North America Inc. (“Nestlé”) will and hereby does move to dismiss
  7    plaintiff Cindy Baker’s first amended complaint.
  8              Nestlé makes its motion on the grounds that, pursuant to Federal Rules of
  9    Civil Procedure 8(a), 9(b), and 12(b)(6), plaintiff’s claims are barred based on
 10    federal preemption, plaintiff fails to state a claim upon which relief may be granted,
 11    and fails to plead her claims with particularity. Alternatively, Nestlé requests the
 12    Court dismiss the action pursuant to the primary jurisdiction doctrine.
 13              The motion is based on this notice, the memorandum of points and
 14    authorities, the declaration of Helene Lee, the request for judicial notice, and all
 15    pleadings, papers, and records on file in this action, and such other and further
 16    evidence and argument of counsel as may be heard.
 17              This motion is made following the conference of counsel, pursuant to Local
 18    Rule 7-3, which Nestlé initiated on November 12, 2018.
 19
       Dated: November 19, 2018                      WHITE & CASE LLP
 20
 21                                                  By:     /s/ Bryan A. Merryman
                                                               Bryan A. Merryman
 22
                                                     Attorneys for Defendant
 23                                                  NÉSTLE WATERS NORTH
                                                     AMERICA INC.
 24
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 26
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  1              INTRODUCTION
  2              Plaintiff Cindy Baker filed this lawsuit against Nestlé Waters North America
  3    Inc. (“Nestlé”), the manufacturer of Nestlé Pure Life® bottled water, based on news
  4    reports regarding a single discredited study that found “microplastic” particles 1 in
  5    all eleven brands of bottled water it tested, including Nestlé Pure Life®. Plaintiff
  6    alleges that Nestlé misled her and other consumers by using the words “purified”
  7    and “pure” on its Pure Life® labels because the water allegedly contains
  8    microplastic particles. But Pure Life® bottled water is in fact “purified water,” as
  9    the federal Food and Drug Administration (“FDA”) defines the term, and plaintiff
 10    does not allege otherwise. FDA, which has promulgated detailed regulations
 11    governing bottled water, expressly allows “purified water” manufacturers to use the
 12    words “purified” and “pure” on their labels, and does not require a disclosure
 13    concerning microplastic particles as plaintiff requests. Plaintiff’s state law claims
 14    based on the Pure Life® label are expressly preempted by 21 U.S.C. § 343-1, which
 15    bars states from imposing “any requirement” that is “not identical to” governing
 16    FDA requirements.
 17              Plaintiff also fails to state a claim under the federal Magnuson-Moss
 18    Warranty Act (“MMWA”) because the MMWA does not apply to label statements
 19    governed by the federal Food, Drug, and Cosmetic Act (“FDCA”), and also because
 20    the label statements about which plaintiff complains are product descriptions, not
 21    warranties, and are thus not subject to the MMWA. Because plaintiff’s state law
 22    claims are preempted and amendment of her sole federal MMWA claim would be
 23    futile, the Court should dismiss the entire action with prejudice.
 24              Additionally, plaintiff’s state law claims – each of which she bases on her
 25    personal opinion that “purified water” should not contain any microplastic particles,
 26    even though such particles are ubiquitous in the environment – are subject to
 27
       1
 28     Plaintiff defines “microplastics” as plastic particles, including polypropylene,
       nylon, and polyethylene terephthalate. FAC ¶ 7.
                                                   -1-
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  1    dismissal because plaintiff does not allege a factual basis on which this Court could
  2    find “purified water,” as defined by FDA, may not contain microplastics.
  3              Finally, in the alternative, the Court should dismiss the case without
  4    prejudice under the primary jurisdiction doctrine to allow FDA to determine
  5    whether “purified water” may contain microplastic particles.
  6              BACKGROUND
  7              Prior to commencing this lawsuit in April 2018,2 plaintiff sent a demand
  8    letter to Nestlé and other leading bottled water manufacturers. She contended that
  9    several well-known brands of bottled water – among them, Nestlé Pure Life®
 10    Purified Water (“Pure Life®”) – had been the subject of “a recent study conducted
 11    at the State University of New York in Fredonia” that had revealed “unacceptable
 12    amounts of plastic particles” in the water. FAC ¶¶ 35, 44; Request for Judicial
 13    Notice (“RJN”) Ex. A. 3 Specifically, plaintiff contended “[t]he study found that
 14    some of the bottled brands … contained pieces of microplastic, including
 15    polypropylene, nylon, and polyethylene terephthalate.” RJN Ex. A. According to
 16    plaintiff, the study thus established Nestlé Pure Life® bottled water was “not ‘pure’
 17    or ‘purified’ as advertised and labeled by” Nestlé. Id.
 18              The substantive allegations in the first amended complaint (“FAC”), which
 19    names only Nestlé as a defendant, are essentially the same as the contentions in her
 20    pre-suit demand letter. The crux of the FAC is:
 21              • The State University of New York at Fredonia (“SUNY Fredonia”) has
                   conducted “[t]ests on more than 250 bottles [of water] from 11
 22                brands,” including Pure Life®, which revealed the presence of “plastic
 23    2
         Plaintiff filed her original complaint on April 12, 2018; the Court dismissed the
 24    action without prejudice for lack of service on August 16, 2018 (Docket No. 10);
       the Court granted plaintiff’s motion to reopen the action on October 2, 2018
 25    (Docket No. 12); plaintiff served Nestlé with a summons and copy of her original
       complaint on October 15, 2018 (Docket No. 13); and plaintiff filed her first
 26    amended complaint on October 29, 2018 (Docket No. 14).
       3
 27      On a motion to dismiss, the Court may consider documents explicitly referenced
       in a complaint without converting the motion to a motion for summary judgment.
 28    See, e.g., Khoja v. Orexigen Therapeutics, Inc., 899 F.3d 988, 1002-03 (9th Cir.
       2018) (explaining incorporation-by-reference doctrine).
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   1                       particles” in the water. FAC ¶¶ 6, 8. Pure Life® was “found to
                           contain ‘micro plastics’ such as polypropylene, nylon, and
   2                       polyethylene terephthalate.” Id. ¶ 7.
   3                   • On October 31, 2017, plaintiff “purchased a case of Nestlé Pure Life®
   4                     Purified bottled water for her and her family at the Smart & Final
                         located in Encino, California,” which plaintiff and her family
   5                     subsequently drank. Id. ¶¶ 1, 11.
   6
                       • In light of the SUNY Fredonia study’s findings regarding the presence
   7
                         of microplastics in bottled water, the use of the words “pure” and/or
   8                     “purified” on Pure Life’s® labels is misleading and misled plaintiff,
                         who would not have purchased Pure Life® had she known there were
   9
                         microplastics in the water. See id. generally.
  10
  11             The FAC asserts eight claims for relief, each based on the allegation that
  12   Nestlé misrepresented the “purity” and/or “purification” of its Pure Life® branded
  13   bottled water: (1) violation of the MMWA, 15 U.S.C. §§ 2301 et seq.; (2) violation
  14   of California’s Consumers Legal Remedies Act (“CLRA”), Cal. Civ. Code §§ 1750
  15   et seq.; (3) violation of California’s Unfair Competition Law (“UCL”), Cal. Bus. &
  16   Prof. Code §§ 17200 et seq.; (4) breach of express warranty; (5) violation of
  17   California’s False Advertising Law (“FAL”), Cal. Bus. & Prof. Code §§ 17500 et
  18   seq.; (6) fraud; (7) negligent misrepresentation; and (8) injunction.
  19             LEGAL STANDARDS
  20             “Dismissal under Rule 12(b)(6) is proper when the complaint either (1) lacks
  21   a cognizable legal theory or (2) fails to allege sufficient facts to support a
  22   cognizable legal theory.” Somers v. Apple, Inc., 729 F.3d 953, 959 (9th Cir. 2013).
  23   “To survive a motion to dismiss, a complaint must contain sufficient factual matter
  24   . . . to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556
  25   U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570
  26   (2007)). Courts must disregard allegations that are legal conclusions, even when
  27   disguised as facts. See id. at 681.
  28             Rule 9(b) governs fraud-based allegations. “Rule 9(b) demands that, when

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   1   averments of fraud are made, the circumstances constituting the alleged fraud be
   2   specific enough to give defendants notice of the particular misconduct so that they
   3   can defend against the charge[.]” Vess v. Ciba-Geigy Corp. USA, 317 F.3d 1097,
   4   1106 (9th Cir. 2003) (citations omitted). In other words, “[a]verments of fraud
   5   must be accompanied by ‘the who, what, when, where, and how’ of the misconduct
   6   charged.” Vess, 317 F.3d at 1106.
   7             Dismissal without leave to amend is appropriate where “the pleading could
   8   not possibly be cured by the allegation of other facts.” Ebner, 838 F.3d at 963.
   9             FEDERAL PREEMPTION BARS PLAINTIFF’S STATE LAW
  10             CLAIMS
  11             The Constitution’s Supremacy Clause provides that federal law is the
  12   “supreme Law of the Land … any Thing in the Constitution or Laws of any State to
  13   the Contrary notwithstanding.” U.S. Const., Art. VI, cl. 2. In accordance with the
  14   Supremacy Clause, federal law can preempt state law either expressly – i.e.,
  15   through explicit preemption language in a federal statute – or impliedly. See, e.g.,
  16   Oneok, Inc. v. Learjet, Inc., 135 S. Ct. 1591, 1595 (2015) (explaining express and
  17   implied preemption).
  18             A.        FDCA § 403A Expressly Preempts Plaintiff’s State Law Claims
  19             The FDCA “establishes basic definitions (known as ‘standards of identity’)
  20   for food products and prohibits the false labeling of such food products.” Patane v.
  21   Nestlé Waters N. Am., Inc., 314 F. Supp. 3d 375, 378 (D. Conn. 2018). Congress
  22   has authorized FDA to “promulgate regulations fixing and establishing for any
  23   food, under its common or usual name so far as practicable, a reasonable definition
  24   and standard of identity….” 21 U.S.C. § 341; see also In re Pepsico, Inc., Bottled
  25   Water Marketing & Sales Practices Litig., 588 F. Supp. 2d 527, 531 (S.D.N.Y.
  26   2008) (recognizing FDA’s authority to set “standards of identity”).
  27             21 U.S.C. § 343-1 – often referred to as section 403A of the FDCA – is an
  28   express preemption provision that Congress enacted in connection with the federal

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   1   Nutrition Labeling and Education Act of 1990 (“NLEA”). See Nemphos v. Nestlé
   2   Waters N. Am., Inc., 775 F.3d 616, 619-20 (4th Cir. 2015) (discussing the NLEA
   3   and section 403A). Section 403A provides, in pertinent part:
   4             [N]o state or political subdivision of a state may directly or indirectly
                 establish under any authority or continue in effect as to any food in
   5
                 interstate commerce --
   6
                           (1) any requirement for a food which is the subject of a
   7                       standard of identity established under section 341 of this title
   8                       that is not identical to such standard of identity or that is not
                           identical to section 343(g) of this title . . . .
   9
  10   21 U.S.C. §343-1(a)(1) (emphasis added).
  11             “Any requirement” embraces obligations imposed through either state
  12   statutory or common law claims. See, e.g., Riegel v. Medtronic, Inc., 552 U.S. 312,
  13   324 (2008) (“Absent other indication, reference to a State’s ‘requirements’ includes
  14   its common-law duties.”); Bates v. Dow Agrosciences L.L.C., 544 U.S. 431, 443
  15   (2005) (in the context of express preemption, “the term ‘requirements’ … reaches
  16   beyond positive enactments, such as statutes and regulations, to embrace common-
  17   law duties”); Nemphos, 775 F.3d at 624 (“The term ‘requirement’ in the NLEA’s
  18   preemption provisions must be read broadly” and includes “common-law rules and
  19   duties from the judiciary.”).
  20             The phrase “not identical to” broadly sweeps in for preemption eligibility any
  21   state law obligation in any way “beyond, or different from, what federal law
  22   requires.” In re Pepsico, 588 F. Supp. 2d at 532; see also 21 C.F.R. §
  23   100.1(c)(4)(i)-(ii) (state requirements are “not identical to” federal requirements,
  24   and thus eligible for preemption under section 403A, if they “[a]re not imposed by
  25   or contained in” or “differ from those specifically imposed by or contained in” a
  26   pertinent FDCA provision or FDA regulation); Turek v. Gen. Mills, Inc., 662 F.3d
  27   423, 427 (7th Cir. 2011) (Posner, J.) (“Even if the disclaimers that plaintiff wants
  28

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   1    added would be consistent with the requirements imposed by the Food, Drug, and
   2    Cosmetic Act, consistency is not the test [for preemption]; identity is.”).
   3              With these provisions and definitions in mind, the key questions in the
   4    section 403A express preemption analysis are: (1) “whether the duty imposed by
   5    the relief which plaintiffs seek is ‘a requirement for a food which is the subject of a
   6    standard of identity’”; and (2) “whether this duty ‘is identical’ to the labeling
   7    requirements of the FDCA.” Mills v. Giant of Md., LLC, 441 F. Supp. 2d 104, 107
   8    (D.D.C. 2006) (preemption bars state law claims against dairy companies premised
   9    upon failure to include warnings about the risks of lactose intolerance on milk
  10    labels, as there is an FDA standard of identity governing milk that does not require
  11    such warnings); see also In re Pepsico, 588 F. Supp. 2d at 534 (analyzing express
  12    preemption similarly). If both questions are answered affirmatively, as they are
  13    here, plaintiff’s state law claims are preempted. See, e.g., In re Pepsico, 588 F.
  14    Supp. 2d at 537; Mills, 441 F. Supp. 2d at 108-09.
  15                           There is a Detailed Standard of Identity for Purified Water
  16              Plaintiff bases each of her claims on the central allegation that the labels of
  17    Pure Life® contain the words “purified” and “pure,” and that the use of these terms
  18    is misleading because a study allegedly found microplastics in the water. See, e.g.,
  19    FAC ¶¶ 34, 42, 50, 63, 68, 80, 89.
  20              In re Pepsico involved preempted state law claims alleging Pepsi had
  21    misrepresented its Aquafina-branded bottled water as coming from a mountain
  22    spring when it was really tap water. In holding preemption barred those claims, the
  23    court noted FDA has set a “standard of identity for bottled water [that] establishes
  24    definitions for several different types of bottled water, including ‘purified water,’
  25    ‘artesian water,’ ‘ground water,’ ‘mineral water,’ and ‘spring water.’” 588 F. Supp.
  26    2d at 531 (citing 21 C.F.R. § 165.110(a)) (emphasis added).
  27              Relevant here, FDA defines “purified water” as:
  28

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   1                        The name of water that has been produced by distillation,
                            reverse osmosis, or other suitable processes and that
   2                        meets the definition of ‘purified water’ in the United
   3                        States Pharmacopeia, 23d Revision, January 1, 1995 …
                            may be ‘purified water’ or ‘demineralized water.’
   4
        21 C.F.R. § 165.110(a)(2)(iv).
   5
                  Within the same regulatory provision, FDA sets forth, in great detail,
   6
        requirements for bottled water quality, including the precise allowable
   7
        concentrations of dozens of “inorganic substances” (e.g., arsenic, cyanide,
   8
        mercury), “volatile organic chemicals” (e.g., benzene, tetrachloroethylene, vinyl
   9
        chloride), and “pesticides and other synthetic organic chemicals” (e.g.,
  10
        benzopyrene, glyphosate, PCBs). See 21 C.F.R. § 165.110(b)(4). Within the same
  11
        provision, FDA also prescribes methods for testing the concentration of the various
  12
        substances upon which it has imposed limitations and requires bottled water that
  13
        exceeds any of its various bacterial, turbidity, color, odor, chemical, and/or
  14
        radioactivity limitations be labeled as such. See 21 C.F.R. §§ 165.110(b)(4), (c).
  15
        This is all to say that bottled water – and “purified water” in particular – is subject
  16
        to highly detailed federal standards of identity, quality, and labeling.
  17
                                  Plaintiff’s Proposed Requirements are “Not Identical To”
  18                              Federal Requirements
  19              Plaintiff seeks to impose liability upon Nestlé for two basic reasons: (1) Pure
  20    Life® labels contain the words “purified” and “pure”; and (2) Pure Life® labels do
  21    not affirmatively disclose the presence of microplastics. See, e.g., FAC ¶¶ 34, 42,
  22    50, 63, 68, 80, 89. Below is an image of the Pure Life® label: 4
  23    4
          As noted in the accompanying declaration of Helene Lee (at ¶ 2, Ex. A), this is
  24    one of three similar labels for Pure Life® bottles used in the United States since at
        least October 2017, when plaintiff claims to have purchased Pure Life® water.
  25    Because the three labels do not differ in their use of the words “purified” and
        “pure,” Nestlé includes only one of the labels here. The Court may take judicial
  26    notice of the Pure Life® label because it forms the basis of plaintiff’s lawsuit and
        plaintiff references its content throughout the FAC. See, e.g., Escobar v. Just Born,
  27    2017 WL 5125740, at *2 (C.D. Cal. June 12, 2017) (taking judicial notice of
        pictures of products and their packaging in connection with motion to dismiss
  28    where the plaintiff did “not dispute the authenticity of the[ ] photographs and
        reference[d] the Products’ packaging extensively in her Complaint”) (collecting
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   1
   2
   3
   4
   5              “Purified.” Pure Life® labels contain the word “purified” because Pure
   6    Life® water is “purified water,” as 21 C.F.R. § 165.110(a)(2)(iv) defines the term.
   7    Plaintiff does not allege otherwise and could not allege otherwise – at least in a
   8    manner consistent with Rule 11. 5
   9              “Pure.” Pure Life® labels contain the word “pure” in three contexts: (1)
  10    “Pure Life®” – i.e., the brand name of the bottled water; (2) the statement “Pure
  11    Life Begins now™”; and (3) “A future full of possibilities starts by drinking pure
  12    quality water.”
  13               “[A]lthough the FDA has ‘discouraged’ the use of the term [‘pure’]…, it did
  14    so out of concern that consumers may be misled into believing that bottled water
  15    labeled as ‘pure’ meets the processing standards required by the standard of identity
  16    for purified water” – e.g., if spring water or well water were labeled “pure.” In re
  17    Pepsico, 588 F. Supp. 2d at 538 (citing Beverages: Bottled Water, 60 Fed. Reg.
  18    57,076, 57,079). “Consumers cannot be misled in that fashion here, because [Pure
  19    Life®] is purified water.” Id. “Thus, the ‘purity’ field” – i.e., the potential to bring
  20    state claims based upon representations regarding purity – “is not open as to
  21    purified water…” Id.
  22
  23    cases).
        5
  24      If plaintiff were to allege Pure Life® does not meet FDA’s standard of identity for
        “purified water” because of the presence of microplastics, she would be asking the
  25    Court to believe Nestlé and the other leading bottled water manufacturers to whom
        she sent her pre-suit demand letter have been selling non-purified water as
  26    “purified” for many years without detection by FDA. Such an allegation, without
        factual support suggesting it might be true, would be implausible. See, e.g., Ebner,
  27    838 F.3d at 963 (“Determining whether a complaint states a plausible claim for
        relief is ‘a context-specific task that requires the reviewing court to draw on its
  28    judicial experience and common sense.’”) (quoting Iqbal, 556 U.S. at 679).

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   1              As to the words “purified” and “pure,” plaintiff seeks to prevent Nestlé from
   2    using terms FDA expressly permits (and, in the case of “purified,” requires when
   3    the product is in fact “purified water” (see 21 U.S.C. § 343(g)(2)), as it is here).
   4    This is a straightforward application of preemption. See, e.g., Lam v. Gen. Mills,
   5    Inc., 859 F. Supp. 2d 1097, 1103 (N.D. Cal. 2012) (plaintiff’s state law mislabeling
   6    claims preempted where “the labeling challenged by [plaintiff] … is expressly
   7    permitted by FDA regulations”); Peviani v. Hostess Brands, Inc., 750 F. Supp. 2d
   8    1111, 1119 (C.D. Cal. 2010) (state claims preempted where they “seek to enjoin the
   9    use of the very term permitted by the NLEA and its accompanying regulations”);
  10    Dvora v. Gen. Mills, 2011 WL 1897349, at *4 (C.D. Cal. May 16, 2011) (claims
  11    preempted where “Plaintiff apparently seeks to forbid General Mills from labeling
  12    its product ‘Total Blueberry Pomegranate,’ even though such descriptions … are
  13    expressly authorized by federal law.”).
  14              Absence of disclosures. To the extent plaintiff premises her claims upon the
  15    absence of affirmative disclosures concerning microplastics on Pure Life® labels,
  16    the law imposes no such requirements. See 21 C.F.R. § 165.110 passim.6 Because
  17    “[t]he warning requirement [plaintiff] seeks is simply not identical to FDA’s
  18    existing standard of identity[,] … her failure-to-warn claim is preempted.”
  19    Nemphos, 775 F. 3d at 625 (state consumer protection law claims against bottled
  20    water companies based on failure to warn about dental fluorosis risks posed by
  21
        6
  22      As discussed above, 21 C.F.R. § 165.110 prescribes the maximum allowable
        concentrations of dozens of chemicals and other substances in bottled water.
  23    “‘[M]icro plastics’ such as polypropylene, nylon, and polyethylene terephthalate”
        (FAC ¶ 7) are not among them. The same regulation also requires bottled water
  24    manufacturers to make certain disclosures on their labels: e.g., to say the water is
        “from a community water system” or “from a municipal source” if it is publicly
  25    sourced and not purified water; to say it is “not sterile” if it is marketed toward
        infants and is not in fact sterile; or to say it contains more than the maximum
  26    allowable concentrations of the various regulated substances. 21 U.S.C. §§
        165.110(a)(3)(ii)-(iii); 165.110(c). It does not require bottled water manufacturers
  27    to include label disclosures concerning the presence of the microplastics,
        polypropylene, nylon, and/or polyethylene terephthalate plaintiff contends are
  28    present in Pure Life® and other popular bottled water brands.

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   1    fluoride in water expressly preempted under section 403A because “FDA’s
   2    standard of identity [i.e. 21 C.F.R. § 165.110] reaches warnings, and it does not
   3    demand a warning about dental fluorosis”); see also Fisher v. Monster Bev. Corp.,
   4    2013 WL 4804385, at *11 (C.D. Cal. July 9, 2013) (Phillips, J.) (claims preempted
   5    where “[p]laintiffs seek to impose an obligation to post certain warnings that are not
   6    imposed by the FDA”), rev’d in part on other grounds, 656 Fed. Appx. 819 (9th
   7    Cir. 2016); Turek, 662 F.3d 423 (“The disclaimers [regarding the presence of
   8    inulin] that the plaintiff wants added to the labeling of the defendants’ inulin-
   9    containing chewy bars are not identical to the labeling requirements imposed on
  10    such products by federal law, and so they are barred.”); In re Pepsico, 588 F. Supp.
  11    2d at 537 (state consumer protection law claims against purified bottled water
  12    manufacturer based on failure to disclose municipal source expressly preempted
  13    under section 403A because plaintiff sought to “impose requirements in addition,
  14    and not identical, to federal requirements”).
  15              In sum, section 403A of the FDCA expressly preempts each of plaintiff’s
  16    state law claims because there is a federal standard of identity that governs the
  17    labels of bottles of “purified water” and plaintiff seeks to impose labeling
  18    requirements that are “not identical to” the governing federal requirements. 7
  19    7
          Plaintiff tries to frame her state law claims as based upon the violation of
  20    California’s Sherman Food, Drug, and Cosmetic Law, rather than the FDCA. See
        FAC ¶¶ 15-19. This is an effort to avoid preemption by 21 U.S.C. 337(a), which
  21    effectively prohibits individuals from suing for violations of the FDCA. See, e.g.,
        Perez v. Nidek Co., 711 F.3d 1109, 1119 (9th Cir. 2013); Patane, 314 F. Supp. 3d
  22    at 385. As already explained, plaintiff’s claims are expressly preempted under
        section 403A to the extent plaintiff attempts to impose requirements on Nestlé that
  23    are not identical to federal requirements. Together, sections 403A and 337(a)
        create a “‘narrow gap’ through which a state law claim must fit to escape
  24    preemption by the FDCA: ‘The plaintiff must be suing for conduct that violates the
        FDCA (or else [her] claim is expressly preempted by § [403A]), but the plaintiff
  25    must not be suing because the conduct violates the FDCA (such a claim would be
        impliedly preempted under [section 337(a)]).’” Perez, 711 F.3d at 1120 (citing In
  26    re Medtronic, Inc., 623 F.3d 1200, 1204 (8th Cir. 2010). In order to navigate this
        “narrow gap,” plaintiff must point to a state law: (1) Nestlé has violated through the
  27    use of the words “purified” and/or “pure,” and (2) that is identical to a
        corresponding provision of the FDCA or its implementing regulations. If plaintiff
  28    cannot do this (she cannot), her state law claims should be dismissed without leave
        to amend.
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   1              PREEMPTION ASIDE, PLAINTIFF’S CLAIMS ARE NOT VIABLE
                  A.        The Court Should Dismiss Plaintiff’s MMWA Claim
   2
                  Similar to her state law claims, plaintiff alleges that Nestlé violated the
   3
        MMWA by “provid[ing] a ‘written warranty’ … for its bottled drinking water by
   4
        prominently affirming and promising in writing on the labeling of the bottled water
   5
        that they were ‘pure’ and ‘purified,’” and that Nestlé breached that warranty. FAC
   6
        ¶¶ 33, 34. The Court should dismiss this claim for two reasons.
   7
                  First, the MMWA is “inapplicable to any written warranty the making or
   8
        content of which is otherwise governed by Federal law.” 15 U.S.C. § 2311(d). As
   9
        plaintiff alleges (FAC ¶ 15), the FDCA and its implementing regulations govern the
  10
        Pure Life® label content about which she complains. The MMWA thus does not
  11
        apply. See, e.g., Mollicone v. Universal Handicraft, Inc., 2017 WL 440257, at *12
  12
        (C.D. Cal. Jan. 30, 2017) (“Where the FDCA governs the product at issue, a
  13
        plaintiff may not state a claim under the MMWA.”); Hairston v. South Beach Bev.
  14
        Co., 2012 WL 1893818, at *5 (C.D. Cal. May 18, 2012) (same).
  15
                  Second, the label content about which plaintiff complains – the words
  16
        “purified” and “pure” – are product descriptions, not warranties, and are therefore
  17
        not subject to the MMWA. See, e.g., Hairston, 2012 WL 1893818, at *6
  18
        (dismissing MMWA claim because the words “all natural with vitamins” … are
  19
        ‘product descriptions’ rather than promises that Lifewater is defect-free, or
  20
        guarantees of specific performance levels”) (collecting cases); Ogden v. Bumble
  21
        Bee Foods, LLC, 2014 WL 27527, at *14 (N.D. Cal. Jan. 2, 2014) (“[T]his Court
  22
        and other courts in this district have repeatedly held that claims made on a food
  23
        product’s label are not ‘warranties’ within the meaning of the [MMWA] and thus
  24
        cannot serve as a basis for a [MMWA] claim.”) (collecting cases).
  25
  26
  27
  28

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   1              B.        Plaintiff’s CLRA, UCL, and FAL Claims Fail on Multiple
   2                        Grounds
   3              The CLRA prohibits “unfair methods of competition and unfair or deceptive
   4    acts or practices.” Cal. Civ. Code §§ 1770(a). The UCL prohibits “any unlawful,
   5    unfair or fraudulent business act or practice and unfair, deceptive, untrue or
   6    misleading advertising...” Cal. Bus. & Prof. Code § 17200. The FAL renders it
   7    “unlawful for any person … with intent directly or indirectly … to make or
   8    disseminate … any statement, concerning … real or personal property … which is
   9    untrue or misleading, and which is known, or which by the exercise of reasonable
  10    care should be known, to be untrue or misleading.” Cal. Bus. & Prof. Code §
  11    17500.
  12                             The “Safe Harbor” Doctrine Bars These Claims
  13              Plaintiff premises her CLRA, UCL, and FAL claims upon Nestlé’s allegedly
  14    misleading use of the words “purified” and “pure” on Pure Life® bottled water
  15    labels. See FAC ¶¶ 42, 50, 68. As discussed above, FDA authorizes the use of
  16    these terms on purified water labels (and plaintiff does not allege Pure Life® is not
  17    “purified water,” as defined by FDA). Such conduct thus falls within a “safe
  18    harbor” and cannot form the basis of a state consumer protection law claim. See,
  19    e.g., Cel-Tech Communications, Inc. v. Los Angeles Cellular Tel. Co., 20 Cal. 4th
  20    163, 184 (1999) (pursuant to “safe harbor” doctrine, “courts may not use the unfair
  21    competition law to condemn actions the Legislature permits”); Alvarez v. Chevron
  22    Corp., 656 F.3d 925, 933 (9th Cir. 2011) (affirming dismissal of UCL and CLRA
  23    claims where “California law unequivocally permit[ted] [d]efendants’ conduct”).
  24                      The Words “Purified” and “Pure” are Unlikely to Deceive a
                          Reasonable Consumer
  25
                  In the product mislabeling context, courts often evaluate CLRA, UCL, and
  26
        FAL claims together, as each law demands, inter alia, a plaintiff plausibly allege
  27
        the challenged label statements are likely to deceive a “reasonable consumer.” See,
  28

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   1    e.g., Williams v. Gerber Prods. Co., 552 F.3d 934, 938 (9th Cir. 2008); Fisher v.
   2    Monster Bev. Corp., 656 Fed. Appx. 819, 822-23 (9th Cir. 2016); Hairston, 2012
   3    WL 1893818, at *4-5. The “reasonable consumer” standard requires a plaintiff to
   4    show the defendant’s representations regarding its product present “a likelihood of
   5    confounding an appreciable number of reasonably prudent purchasers exercising
   6    ordinary care.” Clemens v. DaimlerChrysler Corp., 534 F.3d 1017, 1026 (9th Cir.
   7    2008) (internal quotation marks and citations omitted). In other words, there must
   8    be “more than a mere possibility that the [label statement] might conceivably be
   9    misunderstood by some few consumers viewing it in an unreasonable manner.”
  10    Lavie v. Procter & Gamble Co., 105 Cal. App. 4th 496, 508 (2003).
  11              Because plaintiff’s CLRA, UCL, and FAL claims sound in fraud, they are
  12    subject to Rule 9(b)’s heightened pleading standard. See, e.g., Vess, 317 F.3d at
  13    1103-04 (Rule 9(b) applies to state law claims “grounded in fraud” or that “sound
  14    in fraud,” including CLRA, UCL, and FAL claims); Brazil v. Dole Food Co., 935
  15    F. Supp. 2d 947, 963-65 (N.D. Cal. 2013) (analyzing CLRA, UCL, and FAL claims
  16    under Rule 9(b)). Among other requirements, Rule 9(b) demands a plaintiff “set
  17    forth what is false or misleading about a statement, and why it is false.” Vess, 317
  18    F.3d at 1106 (quotation marks and citations omitted; emphasis added).
  19                 As already discussed, Pure Life® is in fact “purified water,” insofar as it is
  20    produced in the manner described in 21 C.F.R. § 165.110(a)(2)(iv), and plaintiff
  21    does not allege otherwise. As FDA and the court in In re Pepsico have recognized,
  22    the word “pure” is not deceptive when used to describe “purified water.” See In re
  23    Pepsico, 588 F. Supp. 2d at 538 (“Consumers cannot be misled [by the use of the
  24    word ‘pure’] here, as Aquafina is purified water.”) (citing Beverages: Bottled
  25    Water, 60 Fed. Reg. 57,076, 57,079).
  26              Plaintiff’s allegations in the FAC clearly show her conception of the words
  27    “purified” and “pure” is divorced from the water purification process or FDA
  28    definitions and grounded more in her personal belief that “purified water” cannot

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   1    contain anything other than two parts hydrogen and one part oxygen. See FAC ¶ 11
   2    (“[B]ased on Defendant’s ‘pure’ and ‘purified’ representations on its water bottle
   3    labels, a reasonably prudent consumer would not expect Nestlé Pure Life® Purified
   4    drinking water to include synthetic or artificial ingredients, especially the
   5    potentially harmful plastics and micro plastics described herein.”). The
   6    reasonableness of her personal belief is undermined by FDA’s own recognition that
   7    bottled water may contain myriad “synthetic or artificial” substances (e.g., arsenic,
   8    cyanide, carbofuran, PCBs) and still be safe for human consumption and properly
   9    labeled “purified water.” See 21 C.F.R. § 165.110(b) (setting forth standards of
  10    quality for bottled water).
  11              Moreover, assuming the factual accuracy of plaintiff’s allegations (as the
  12    Court must at this stage), the reasonableness of her alleged belief is undermined by
  13    the facts that the SUNY Fredonia study revealed microplastic particles in all eleven
  14    brands of bottled water tested and that plaintiff threatened to sue the manufacturers
  15    of the five manufacturers of those brands of bottled water for the same reasons it
  16    now sues Nestlé. See FAC ¶ 8; RJN Ex. A. If all brands of bottled water contain
  17    microplastics, that fact confirms microplastics are virtually everywhere. For
  18    example, the air we breathe contains microplastics, as does tap water. Without
  19    providing any context regarding the prevalence of microplastics in our daily lives or
  20    whether it is possible to ensure “purified water” contains no microplastic particles,
  21    which plaintiff has not done, there is no basis to find reasonable plaintiff’s personal
  22    belief that “purified water,” as defined by FDA, cannot contain microplastics.
  23    Thus, plaintiff has not plausibly alleged the words “purified” or “pure” would
  24    mislead a reasonable Pure Life® purchaser. Her CLRA, UCL, and FAL claims
  25    thus fail.
  26                           To the Extent Plaintiff Bases Her CLRA, UCL, and FAL
                               Claims on Nondisclosure, they Fail
  27
                  While not entirely explicit in the FAC, plaintiff appears to base her CLRA,
  28

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   1    UCL, FAL claims on both affirmative misrepresentation (i.e., the words “purified”
   2    and “pure”) and non-disclosure (i.e., no warning regarding microplastics) theories.
   3    See FAC ¶¶ 42, 50, 68, 70. In the consumer protection context, “California courts
   4    have generally rejected a broad obligation to disclose…” Wilson v. Hewlett-
   5    Packard Co., 668 F.3d 1136, 1141 (9th Cir. 2012). Instead, relying on the
   6    California court of appeal’s decision in Daugherty v. Am. Honda Motor Co., 144
   7    Cal. App. 4th 824 (2006), “California federal courts have generally … [held] that a
   8    manufacturer’s duty to consumers is limited to its warranty obligations absent
   9    either an affirmative misrepresentation or a safety issue.” Id. (quotation marks,
  10    citations, and brackets omitted); see also Daniel v. Ford Motor Co., 806 F.3d 1217,
  11    1225-26 (9th Cir. 2015) (citing Wilson for the proposition that “an omission must
  12    pose safety concerns to be material”); Gray v. Toyota Motor Sales, U.S.A., Inc., 554
  13    Fed. Appx. 608, 609 (9th Cir. 2014) (“California law instructs that a manufacturer’s
  14    duty to consumers is limited to its warranty, unless a safety issue is present or there
  15    has been some affirmative misrepresentation.”).
  16              As discussed above, the words “purified” and “pure” are not affirmative
  17    misrepresentations when used to describe “purified water.” Thus, to proceed with
  18    her CLRA, UCL, and FAL claims under a non-disclosure theory, plaintiff must
  19    allege the concealed matter – microplastics – presents a safety concern, and she
  20    must do so in a specific and particularized manner, in accordance with Rule 9(b).
  21    See Benavides v. Kellogg Co., 2011 WL 13269720, at *5 (C.D. Cal. March 21,
  22    2011) (in consumer protection lawsuit involving crackers recalled for potential
  23    Salmonella contamination, dismissing CLRA claim based on non-disclosure where
  24    complaint did not include particularized allegations of safety threat). The FAC is
  25    devoid of factual content suggesting the microplastic particles allegedly in Pure
  26    Life® and other well-known brands of bottled water are a threat to human safety.
  27              The closest plaintiff comes to implicating a safety issue is in paragraph 10 of
  28    the FAC, where she alleges “[p]articles around 110 microns in size … can be taken

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   1    into the body’s hepatic portal vein,” while particles “in the range of 20 microns …
   2    in drinking water have been shown to enter the bloodstream before it lodges in the
   3    kidneys and liver…” FAC ¶ 10. Plaintiff does not plausibly allege the
   4    microplastics allegedly found in Pure Life® (which plaintiff does not allege to be
   5    any particular size) pose a safety risk and thus cannot state a claim under the
   6    CLRA, UCL, or FAL on a theory of non-disclosure. See, e.g., Daugherty, 144 Cal.
   7    App. 4th at 835-36 (finding plaintiff “alleged no facts that would establish
   8    [defendant] was ‘bound to disclose’ the defect” because “[t]he complaint [was]
   9    devoid of factual allegations showing any instance of physical injury or any safety
  10    concerns posed by the defect”).
  11              Additionally, to proceed with CLRA, UCL, or FAL claims under a non-
  12    disclosure theory, plaintiff must plausibly allege Pure Life® contained microplastic
  13    particles in an amount Nestlé knew to be harmful when plaintiff made her purchase.
  14    See, e.g., Wilson, 668 F.3d at 1145-46 (explaining CLRA and UCL claims based on
  15    non-disclosure require “[p]laintiffs [to] show that HP was aware of the alleged
  16    defect at the time the Laptops were sold”); Punian v. Gillette Co., 2015 WL
  17    4967535, at *9-10 (N.D. Cal. Aug. 20, 2015) (explaining plaintiff must plausibly
  18    allege defendant’s knowledge of defect at the time of the sale to avoid dismissal of
  19    CLRA, UCL, and FAL claims, and holding plaintiff’s allegation that “consumers
  20    [had] filed ‘numerous complaints’ [about the defect] with Defendants” was
  21    insufficient to establish knowledge). The FAC does not allege Nestlé knew of a
  22    potentially harmful level of microplastics in Pure Life® at the time she purchased
  23    Pure Life® water, or today.
  24                      Plaintiff’s CLRA Claim Must Be Dismissed In Part
                  Plaintiff, based on Civil Code sections 1770(a)(2), (4), (5), (7), and (9),
  25
        alleges Nestlé has violated the CLRA. FAC ¶ 41. Even assuming the truth of
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        plaintiff’s factual allegations, three of these CLRA provisions plainly do not apply.
  27
        First, the FAC does not suggest Nestlé has “[m]isrepresent[ed] the source,
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   1    sponsorship, approval, or certification” of Pure Life® in violation of section
   2    1770(a)(2). Second, the FAC does not suggest Nestlé has “[u]s[ed] deceptive
   3    representations or designations of geographic origin” on Pure Life® labels in
   4    violation of section 1770(a)(4). Third, the FAC does not suggest Nestlé
   5    “advertis[ed] good or services with intent not to sell them as advertised” with
   6    respect to Pure Life® in violation of section 1770(a)(9). Accordingly, the Court
   7    should dismiss plaintiff’s CLRA claim insofar as she bases it on the violation of
   8    sections 1770(a)(2), (4), or (9) of the Civil Code.
   9              C.        Plaintiff Fails to State a Breach of Express Warranty Claim
  10              Plaintiff alleges that she “formed a contract with Defendant at the time
  11    Plaintiff … purchased Defendant’s bottled water based on the representation and
  12    warranties made by Defendant, including that Defendant’s water is ‘pure’ and
  13    ‘purified,’” and that “Defendant breached … the express warranties … by not
  14    providing its consumers with the bottled water they believed they were
  15    purchasing…” FAC ¶¶ 61, 64.
  16              “To prevail on a breach of express warranty claim under California law, a
  17    plaintiff must prove: ‘(1) the seller’s statements constitute an affirmation of fact or
  18    promise or a description of the goods; (2) the statement was part of the basis of the
  19    bargain; and (3) the warranty was breached.” In re ConAgra Foods, Inc., 90 F.
  20    Supp. 3d 919, 984 (C.D. Cal. 2015) (quotation marks and citations omitted;
  21    emphasis added). For the same reason she fails to allege the words “purified” or
  22    “pure” would mislead a reasonable consumer, plaintiff does not plausibly allege
  23    Nestlé breached a warranty: Assuming for present purposes that Pure Life® water
  24    contains microplastic particles, nothing in the FAC suggests “purified water”
  25    cannot contain microplastic particles. Because plaintiff does not plausibly allege a
  26    breach, her express warranty claim fails.
  27              D.        Plaintiff Fails to Plead Fraud and Negligent Misrepresentation
  28              Plaintiff bases her fraud and negligent misrepresentation claims, like all of

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   1    her other claims, on the allegation that Pure Life® bottled water is not “‘pure’ and
   2    ‘purified’” as labeled. See FAC ¶¶ 80, 89. The fraud claim is governed by Rule
   3    9(b), which requires, inter alia, a plaintiff to “set forth what is false or misleading
   4    about a statement, and why it is false.” Vess, 317 F.3d at 1106 (quotation marks and
   5    citations omitted). The negligent misrepresentation claim is arguably subject to the
   6    less rigorous Rule 8(a) pleading standard. See, e.g., Woods v. Davol, 2017 WL
   7    3421973, at *6 (E.D. Cal. Aug. 8, 2017) (noting the Ninth Circuit has not resolved
   8    the issue, but a “growing trend of authority applies Rule 8, and not Rule 9(b), to a
   9    California law negligent misrepresentation claim”); Sater v. Chrysler Group LLC,
  10    2015 WL 736273, at *11-12 (C.D. Cal. Feb. 20, 2015) (Phillips, J.) (applying Rule
  11    8(a) to negligent misrepresentation claim). The pleading standard, however, is not
  12    dispositive here, as both fraud and negligent misrepresentation claims require
  13    plausible allegations that the defendant made a misrepresentation of material fact
  14    and that the plaintiff justifiably relied upon the misrepresentation. See, e.g., Doe v.
  15    Gangland Prods., 730 F.3d 946, 960 (9th Cir. 2013) (setting forth elements of
  16    fraud); Glenn K. Jackson Inc. v. Roe, 273 F.3d 1192, 1200 n.2 (9th Cir. 2001)
  17    (setting forth elements of negligent misrepresentation). As discussed above,
  18    plaintiff does not allege Pure Life® is not in fact “purified water,” as defined by
  19    FDA, and does not plausibly allege the presence of microplastic particles renders
  20    “purified water” un-purified. Plaintiff’s fraud and negligent misrepresentation
  21    claims thus fail.
  22              E.        Injunction Is a Form of Relief, Not a Claim
  23              Plaintiff’s eighth claim for relief (erroneously titled ninth claim for relief) is
  24    for an injunction. An injunction, however, is a remedy plaintiff seeks; it is not a
  25    substantive claim for relief in its own right. See, e.g., Jensen v. Quality Loan Serv.
  26    Corp., 702 F. Supp. 2d 1183, 1201 (E.D. Cal. 2010) (since “[a]n injunction is a
  27    remedy, not a separate claim or cause of action,” “a separately pled claim or cause
  28    of action for injunctive relief is inappropriate”) (quotation marks and citations

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   1    omitted). The Court should dismiss this claim because it is a form of relief and not
   2    a claim.
   3           ALTERNATIVELY, THE COURT SHOULD DISMISS THE ACTION
               UNDER THE PRIMARY JURISDICTION DOCTRINE
   4
                  In the event the Court does not dismiss all of plaintiff’s claims on other
   5
        grounds, it should dismiss this action under the primary jurisdiction doctrine to
   6
        allow FDA to determine whether “purified water” may contain microplastic
   7
        particles. “The primary jurisdiction doctrine allows courts to stay proceedings or to
   8
        dismiss a complaint without prejudice pending the resolution of an issue within the
   9
        special competence of an administrative agency.” Clark v. Time Warner Cable,
  10
        523 F.3d 1110, 1114 (9th Cir. 2008). “[T]he doctrine is a ‘prudential’ one, under
  11
        which a court determines that an otherwise cognizable claim implicates technical
  12
        and policy questions that should be addressed in the first instance by the agency
  13
        with regulatory authority over the relevant industry rather than by the judicial
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        branch.” Id. Dismissal under this doctrine is appropriate if a claim “requires
  15
        resolution of an issue of first impression, or of a particularly complicated issue that
  16
        Congress has committed to a regulatory agency, and if protection of the integrity of
  17
        a regulatory scheme dictates preliminary resort to the agency which administers the
  18
        scheme.” Id. (quotation marks and citations omitted).
  19
                  Although “no fixed formula exists for applying the doctrine of primary
  20
        jurisdiction,” the Ninth Circuit has “traditionally examined” four factors: “(1) a
  21
        need to resolve an issue that (2) has been placed by Congress within the jurisdiction
  22
        of an administrative body having regulatory authority (3) pursuant to a statute that
  23
        subjects an industry or activity to a comprehensive regulatory authority that (4)
  24
        requires expertise or uniformity in administration.” Id. at 1115 (quotation marks,
  25
        citations, and brackets omitted). Here, FDA clearly has the authority to and does
  26
        regulate bottled water contents and labeling. In the event the Court does not
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        dismiss the FAC in its entirety on other grounds, it will be necessary to resolve
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   1    technical issues best resolved on a uniform, nationwide basis by FDA, the agency
   2    with the requisite scientific expertise, such as: (1) whether microplastics at some
   3    level are dangerous to human health; (2) if so, what level in bottled water is
   4    acceptable; (3) whether water FDA expressly requires be labeled “purified water”
   5    or “pure” may contain microplastics; and (4) whether bottled water manufacturers
   6    should be required to disclose on the label the presence of microplastics.
   7              In Tran v. Sioux Honey Ass’n, Coop., the plaintiff asserted CLRA, FAL, and
   8    UCL claims against the defendant honey manufacturer, alleging the label
   9    statements “Pure” and “100% Pure” were misleading due to the presence of
  10    glyphosate, “a synthetic chemical and herbicide,” in the honey. Tran, 2017 WL
  11    5587276, at *1 (C.D. Cal. Oct. 11, 2017). The plaintiff’s “complaint, although
  12    ostensibly about the meaning of the terms ‘Pure’ or ‘100% Pure,’ [was] really about
  13    what constitutes a safe level of glyphosate in honey.” Id. at *2. Additionally, “it
  14    [was] undisputed that no tolerance level ha[d] been set for glyphosate in honey and
  15    no labeling requirement exist[ed] with respect to glyphosate in honey either.” Id.
  16    Similarly, this lawsuit is really about what constitutes a safe level of microplastics
  17    in bottled water, and FDA has imposed no tolerance level or labeling requirement
  18    concerning microplastics in bottled water. In Tran, the court (Judge Staton) stayed
  19    the action under the primary jurisdiction doctrine to give FDA “the opportunity to
  20    bring its expertise to bear on appropriate tolerance levels for glyphosate in honey
  21    and on labeling requirements regarding the same.” Id. at *3. In the event the Court
  22    does not dismiss the FAC in its entirety, it should dismiss this action to allow FDA
  23    the opportunity to evaluate tolerance levels and labeling requirements relating to
  24    microplastics in bottled water.
  25
  26    ///
  27    ///
  28    ///

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   1              CONCLUSION
   2              For the foregoing reasons, Nestlé respectfully requests the Court dismiss the
   3    FAC with prejudice. Alternatively, Nestlé respectfully requests the Court dismiss
   4    this action pursuant to the primary jurisdiction doctrine.
   5
        Dated: November 19, 2018                       WHITE & CASE LLP
   6
   7                                                   By:     /s/ Bryan A. Merryman
                                                                 Bryan A. Merryman
   8
                                                       Attorneys for Defendant
   9                                                   NÉSTLE WATERS NORTH
                                                       AMERICA INC.
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